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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IAN HARKER, CORRANDINA                         )
BALDACCHINO, and GH, a minor,                  )          CIVIL ACTION NO. 3:15-CV-277
                                               )
                             Plaintiffs,       )
                                               )          JUDGE KIM R. GIBSON
       v.                                      )
                                               )
JOHN 0. CHAN, M.D. and                         )
CONEMAUGH MEMORIAL MEDICAL                     )
CENTER                                         )
                                               )
                                               )
                                               )
                             Defendants.       )

                                      REVISED ORDER

       AND NOW, this 19th day of April, 2018, the transcripts from trial dates March 20, 2018,
March 21, 2018, and March 22, 2018 having been docketed (see ECF Nos. 80, 81, 82), the Court
HEREBY REVISES the previous Order of April 17, 2018 (ECF No. 79) as follows:
       1. The parties are responsible for obtaining transcripts from the court reporters.
      2. The parties shall have until April 30, 2018, to obtain said transcripts.
      3. Defendants' brief in support of their motion for a new trial shall be due on May 21,
            2018.
      4. Plaintiffs' reply brief shall be due on June 11, 2018.


                                            BY THE COURT:




                                            KIM R. GIBSON
                                            UNITED STATES DISTRICT JUDGE
